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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------x
In re                                                       Chapter 11

        Avon Place, LLC                                     Case no. 25-41368 (JMM)

                                    Debtor.
--------------------------------------------------------x

                                      DISCLOSURE STATEMENT

THIS DISCLOSURE STATEMENT CONTAINS INFORMATION THAT MAY AFFECT
CREDITORS' DECISIONS TO SUPPORT OR OPPOSE THE PLAN OF
REORGANIZATION ANNEXED HERETO AS EXHIBIT A. ALL CREDITORS ARE
URGED TO READ THIS DISCLOSURE STATEMENT. ALL CAPITALIZED TERMS
CONTAINED IN THIS DISCLOSURE STATEMENT SHALL HAVE THE SAME
MEANING AS CAPITALIZED TERMS CONTAINED IN THE PLAN OF
REORGANIZATION.

COURT APPROVAL OF THE DISCLOSURE STATEMENT DOES NOT CONSTITUTE
COURT APPROVAL OF THE TERMS OF THE PLAN.
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                                         INTRODUCTION

                The Debtor submits this Disclosure Statement ("Disclosure Statement") in

connection with its Plan of Reorganization ("Plan") under Chapter 11 of the United States

Bankruptcy Code. A copy of the Plan is attached hereto as Exhibit A. All Creditors are urged to

review the Plan in addition to reviewing this Disclosure Statement. All capitalized terms used

but not defined shall have the meaning set forth in the Plan.

                This Disclosure Statement is not intended to replace a review and analysis of the

Plan. Rather, it is submitted as a review of the Plan in an effort to fully explain the terms Plan.

Every effort has been made to fully explain the aspects of the Plan as it affects all Creditors. To

the extent a Creditor has questions, the Debtor urges you to contact Debtor’s counsel and every

effort will be made to assist you.

                On _____________________, 2025, after notice and a hearing, the Bankruptcy

Court entered an order approving this Disclosure Statement as containing information of a kind

and in sufficient detail, as far as is reasonably practicable in light of the nature and history of the

Debtor and the condition of the Debtor's books and records, to enable Creditors whose votes are

being solicited to make an informed judgment whether to accept or reject the Plan..

                THE INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT

HAS BEEN SUPPLIED BY THE DEBTOR. THE DEBTOR'S BOOKS AND RECORDS

HAVE BEEN USED TO PROVIDE THE INFORMATION CONCERNING THE DEBTOR'S

FINANCIAL CONDITION AS SET FORTH IN THE DISCLOSURE STATEMENT. BASED

UPON THE INFORMATION MADE AVAILABLE, DEBTOR’S COUNSEL HAS NO

INFORMATION TO INDICATE THAT THE INFORMATION DISCLOSED HEREIN IS

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INACCURATE. NEITHER THE DEBTOR NOR DEBTOR’S COUNSEL, HOWEVER, IS

ABLE TO STATE DEFINITIVELY THAT THERE IS NO INACCURACY HEREIN OR

THAT FUTURE EVENTS MAY NOT RENDER THE INFORMATION CONTAINED

HEREIN INACCURATE.

               After reviewing this Disclosure Statement indicate your vote to accept or to reject

the Plan on the enclosed ballot, and return the ballot to counsel for the Debtor to be received by

_________________________, 2025.

               The Bankruptcy Court has entered an Order fixing ___________________, 2025,

at ___.m., at the United States Bankruptcy Court, 271 Cadman Plaza East, Brooklyn, New York,

11201, as the date, time and place for the hearing to on approval of the Disclosure Statement and

confirmation of the Plan, and fixing ________________, 2023, as the last date for the filing and

serving of any objections. A copy of any objection to the Disclosure Statement or confirmation

of the Plan must be delivered to the Court’s chambers on or before such date.

                                        BACKGROUND

              1.       On March 21, 2025 (the “Petition Date”), the Debtor filed a Chapter 11

petition under Title 11 of the United States Code, 11 U.S.C. 101 et seq. (the “Bankruptcy Code”).

              2.       This case was filed to protect the value of the Debtor’s properties and to

avoid a forfeiture under a predatory foreclosure action brought by 44 Avon Road Credit LLC.

              3.       The Debtor is a Connecticut limited liability company formed in 2022.

The Debtor acquired one hundred and eighty (180) condominium units (the “Property”) at the

property known as Avon Place Condominiums and located at 44-46-47-48 Avonwood Road,


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Avon, CT 06001, representing 96% of the units in the building complex. Sixty-two (62 units) are

located at 44, 47 and 48 Avon Road and forty-six (46) units at 46 Avon Road. One hundred and

sixty-two (162) units were purchased in October 2022 for $33,750,000, with the remaining

sixteen (16) units being purchased from individual sellers sporadically since then, for the sum of

$2,709,500. The Debtor estimates the current value of the Property to be approximately

$40,000,000.

               4.      In September 2022, the Debtor entered into two loans totaling $28 million,

originally issued by Bankwell Bank secured by the Property. The loans were always in good

standing, and in June 2024, Bankwell confirmed that payments were current.

               5.      The Property suffered fire damage in one of the buildings and certain

units. The Debtor received an insurance payment of approximately $400,000. It endorsed the

funds to Bankwell for debt service.

               6.      Shortly thereafter, the Mortgagee claims to have taken an assignment of

Bankwell’s loans, but as of this date the Mortgagee has provided no evidence of the assignment.

Before even notifying the Debtor of the assignment, let alone giving a default notice, the

Mortgagee commenced a foreclosure, in which it demands appointment of a receiver, payment in

full, and a deficiency judgement for any shortfall against Abron Rudich, the Debtor’s beneficial

owner. Apparently, the Mortgagee manufactured a default by applying the insurance check to

principal instead of ongoing debt service and then deemed there to be a default for the now unpaid

months.

               7.      The Debtor was astonished by the Mortgagee’s actions until it looked into

the background of Kyle O’Hehir, the Mortgagee’s principal. He is a real estate investor trying to

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make a name for himself by acquiring distressed loans at a discount and being as aggressive as he

can to enforce collection. In online videos, he describes his approach as capitalizing on technical

defaults and the reluctance of traditional banks to take a hard line with borrowers.

               8.       The Debtor obviously disputes that it was ever in default. The Debtor has

therefore elected Chapter 11 protection to pause collection efforts so that it can reinstate the loan

under its original terms in a Chapter 11 plan without the added default interest and penalties

claimed in the foreclosure action.

                          DEBTOR’S PLAN OF REORGANIZATION

                     CLASSIFICATION AND TREATMENT OF CLAIMS

                                                Class 1

               9.       Classification – Avon Connecticut real estate tax, water, sewer and other

liens. . Class 1 Claims total approximately $584,403.

               10.      Treatment -- Payment in full in Cash of Allowed Amount on the

Effective Date, plus interest at the applicable statutory rate as it accrues from the Petition Date

through the date of payment.

               11.      Voting – Unimpaired and deemed to have accepted the Plan.

                                                Class 2

               12.      Classification – Allowed Secured Claims of the Mortgagee. The Debtor

estimates that principal, non-default contract rate of interest, amortization, advances and other

charges total approximately $28,100,785 as of the Petition Date.




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               13.     Treatment – On the Effective Date, pursuant to section 1124(2) of the

Bankruptcy Code, the Debtor shall cure pre-Petition Date and post-Petition Date monetary

defaults, if any, and then comply with its obligations under the applicable loan documents through

maturity. The Debtor intends to refinance or sell the Property and prepay all amounts on the

Effective Date..

               14.     Voting – Unimpaired and deemed to have accepted the Plan.

                                             Class 3

               15.     Classification – Allowed Secured Claim of Altbanq Lending LLC. The

Debtor estimates that $3,000,000 is due as of the Petition Date secured by a mortgage on the

Property.

               16.     Treatment – On the Effective Date, pursuant to section 1124(2) of the

Bankruptcy Code, the Debtor shall cure pre-Petition Date and post-Petition Date monetary

defaults, if any, and then comply with its obligations under the applicable loan documents through

maturity. The Debtor intends to refinance or sell the Property and prepay all amounts on the

Effective Date.. The Debtor intends to refinance and prepay all amounts on the Effective Date.

               17.     Voting – Unimpaired and deemed to have accepted the Plan.

                                             Class 4

               18.     Classification – Priority Claims under Sections

507(a)(2),(3),(4),(5),(6),(7) and (8) of the Bankruptcy Code. Claims total approximately $0.




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               19.      Treatment – Payment in full in Cash of Allowed Amount on the Effective

Date, plus interest at the applicable statutory rate as it accrues from the Petition Date through the

date of payment.

               20.      Voting -- Unimpaired and deemed to have accepted the Plan.

                                                Class 5

               21.      Classification – General Unsecured Claims. Claims total approximately

$1,287,148.

               22.      Treatment – Payment in full in Cash plus interest through the payment

date on the Effective Date.

               23.      Voting – Unimpaired and deemed to have accepted the Plan.

                                                Class 6

               24.      Classification – Allowed Equity Interests .

               25.      Treatment – Interest Holders shall be required to contribute the funds

necessary to make Effective Date payments under the Plan and shall retain their Interests under

the Plan.

               26.      Voting – Impaired and entitled to vote to accept or reject the Plan.

                          UNCLASSIFIED PRIORITY TAX CLAIMS

               27.      Priority tax Claims under Section 507(a)(8) of the Bankruptcy Code by

Debtor, if any, shall be entitled to payment in Cash on the Effective Date of Allowed Amount,

plus interest at the applicable statutory rate as it accrues from the Petition Date through the date of

payment.
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                                 ADMINISTRATIVE EXPENSES

               28.      Allowed Administrative Expense Claims, including professional fees,

shall be paid in full in Cash on the later of the Effective Date and the date such Administrative

Expense Claim becomes Allowed or as soon as practicable thereafter, except to the extent that the

holder of an Allowed Administrative Expense Claim agrees to a different treatment; provided,

however, that Allowed Administrative Expense Claims representing obligations incurred in the

ordinary course of business or under Executory Contracts assumed by the Debtor shall be paid in

full or performed by the Debtor in the ordinary course of business or pursuant to the terms and

conditions of the particular transaction. The Debtor estimates that through the entry of a final

decree in this case, Allowed Administrative Expenses will total approximately 315,000.

               29.      Any outstanding U.S. Trustee fees and any statutory interest thereon shall

be paid in full in Cash on the Effective Date. Thereafter, United States Trustee fees and any

statutory interest thereon shall be paid until entry of final decree or until Bankruptcy Case is

converted or dismissed. The Debtors shall file quarterly post-Confirmation operating reports.

                               MEANS FOR IMPLEMENTATION

               30.      Source of Funds – Plan payments will be paid by the Interest Holders,

cash on hand, and additional funds from a refinancing or sale of the Property.

               31.      Vesting -- Except as otherwise provided in the Plan, on the Effective Date

all assets and properties of the Estate shall vest in the Debtor free and clear of all Liens, Claims

and encumbrances and any and all liens, claims and encumbrances that have not been expressly

preserved under the Plan shall be deemed extinguished as of such date. Except as otherwise

provided herein, as of the Effective Date, all property of the Debtor shall be free and clear of all

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Claims and Interests of Creditors, except for the obligations that are imposed under the Plan or by

a Final Order of the Bankruptcy Court.

               32.      Execution of Documents -- The Proponent shall be authorized to execute,

in the name of any necessary party, any notice of satisfaction, release or discharge of any Lien,

Claim or encumbrance not expressly preserved in the Plan and deliver such notices to any and all

federal, state and local governmental agencies or departments for filing and recordation.

               33.      Recording Documents -- Each and every federal, state and local

governmental agency or department shall be authorized to accept and record any and all

documents and instruments necessary, useful or appropriate to effectuate, implement and

consummate the transaction contemplated by the Plan, including, but not limited to any and all

notices of satisfaction, release or discharge of any Lien, Claim or encumbrance not expressly

preserved by the Plan, and the Confirmation Order.

               34.      Preservation of Claims -- All rights pursuant to sections 502, 544, 545

and 546 of the Bankruptcy Code, all preference claims pursuant to section 547 of the Bankruptcy

Code, all fraudulent transfer claims pursuant to sections 544 and 548 of the Bankruptcy Code, and

all claims relating to post-Petition Date transactions under section 549 of the Bankruptcy Code

shall be preserved for the benefit of the Debtor’s estate, provided, however, that the Debtor shall

have sole authority for prosecuting any such claims. Because all creditors are being paid in full

under the Plan, the Debtor does not anticipate preference or fraudulent claims.

               35.      Stamp Tax -- Under the Plan, pursuant to Bankruptcy Code by section

1146(c), the issuance, transfer, or exchange of any security and the making or delivery of any

instrument of transfer under this Plan, (including any instrument of transfer executed in

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furtherance of the sale contemplated by the Plan), shall not be subject to tax under any law

imposing a stamp tax or similar tax.

                 PAYMENT OF CLAIMS AND OBJECTIONS TO CLAIMS

               36.      The Debtor shall be disbursing agent under the Plan without a bond. The

Debtor reserves the right to file objections to claims in the event grounds exist to object to

particular claims, for a period of 60 days after the Effective Date. On the initial distribution date

and on each distribution date as may thereafter be necessary, the Debtor shall maintain an

undetermined claims distribution reserve for the holders of undetermined claims as of such date in

a sum not less than the amount required to pay each such undetermined claim if such claim was

allowed in full. To the extent that an undetermined claim becomes an Allowed Claim, the

distributions reserved for such Allowed Claim, shall be released from the undetermined claims

distribution reserve and paid to the holder of such Allowed Claim. After all the amounts of all

undetermined claims have been fixed, the balance of the undetermined claims distribution reserve

shall thereafter be paid in accordance with the Plan.

                  EXECUTORY CONTRACTS AND UNEXPIRED LEASES

               37.      Except for executory contracts and unexpired leases the Debtor rejects

before the Confirmation Date, all unexpired leases and executory contracts shall be assumed

under the Plan. In the event of a rejection which results in damages a proof of claim for such

damages must be filed by the damaged party with the Court within sixty (60) days after the

rejection date. All Allowed Claims arising from the rejection of any Executory Contract or

unexpired lease shall be treated as Unsecured Claims. Any Claim arising from the rejection of

any Executory Contract or unexpired lease not filed with the Court within the time period

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provided herein shall be deemed discharged and shall not be entitled to participate in any

distribution under the Plan.

               FINANCIAL PROJECTIONS AND LIQUIDATION ANALYSIS

               38.      Annexed hereto as Exhibit B are a balance sheet, liquidation analysis and

projections indicating that the Post-Confirmation Debtor will have sufficient assets to pay Claims

under the Plan.

                                   LIQUIDATION ANALYSIS

               39.      Based on the appraised value of the Property, in a liquidation under

Chapter 7 of the Bankruptcy Code, it is likely that Creditor Claims will be paid in full.

Distribution to Interest Holders will be reduced by liquidation expenses including Trustee

commissions, Trustee professional fees and brokerage commissions, which the Debtor estimates

would be about 10% of the Properties’ value.

                                    LITIGATION ANALYSIS

               40.      The Debtor is aware of no pending litigation or potential litigation except

the Mortgagee’s foreclosure action, the Debtor’s claims against the Mortgagee and ordinary

course of business landlord tenant cases involving residential tenants.

                               MANAGEMENT OF THE DEBTOR

               41.      The Debtor is managed by David Goldwasser, CRO. Post-confirmation

management shall remain unchanged.

                                     TAX CONSEQUENCES



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                42.      The Debtor does not believe that there will be any negative tax

consequences to the Debtor or to Creditors under the Plan. To the extent that a creditor is not

paid in full under the Plan, such creditor may be entitled to a bad debt deduction. To the extent

that a creditor has taken a bad debt deduction, Plan distributions may be taxable as income.

                43.      THE DEBTOR DOES NOT PURPORT, THROUGH THIS

DISCLOSURE STATEMENT, TO ADVISE THE CREDITORS OR INTEREST HOLDERS

REGARDING THE TAX CONSEQUENCES OF THE TREATMENT OF THE CREDITORS

AND INTEREST HOLDERS UNDER THE PLAN. CREDITORS AND INTEREST HOLDER

SHOULD SEEK INDEPENDENT COUNSEL CONCERNING THE TAX CONSEQUENCES

OF THEIR TREATMENT UNDER THE PLAN.

                       VOTING PROCEDURES AND REQUIREMENTS

                44.      A ballot to be used for voting to accept or reject the Plan is enclosed with

this Disclosure Statement. Each Creditor is entitled to execute the ballot, and return it to the

undersigned to be considered for voting purposes. The Bankruptcy Court has directed that, in

order to be counted for voting purposes, ballots for the acceptance or rejection of the Plan must be

received no later than ______________________, 2025 by email to mfrankel@bfklaw.com or by

delivery to the following address: Backenroth Frankel & Krinsky, LLP, 488 Madison Avenue,

New York, New York 10022, Attn: Mark A. Frankel, Esq.

                45.      Each Creditor of the Debtor whose Claim is impaired under the Plan is

entitled to vote, if either (i) its Claim has been scheduled by the Debtor, or (ii) it has filed a proof

of claim on or before the last date set by the Bankruptcy Court for such filings.



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               46.       Any Claim as to which an objection has been filed (and such objection is

still pending) is not entitled to vote, unless the Bankruptcy Court temporarily allows the Claim in

an amount which it deems proper for the purpose of accepting or rejecting the Plan upon motion

by a Creditor whose Claim is subject to an objection. Such motion must be heard and determined

by the Bankruptcy Court prior to the date established by the Court to confirm the Plan.

               47.      A Creditor's vote may be disregarded if the Bankruptcy Court determines

that the Creditor's acceptance or rejection was not solicited or procured in good faith or in

accordance with the provisions of the Bankruptcy Code.

               48.      The Bankruptcy Code defines acceptance of a Plan by a class of Creditors

as acceptance by holders of two-thirds in dollar amount and a majority in number of the Claims of

that class which actually cast ballots for acceptance or rejection of the Plan.

               49.      The Bankruptcy Code defines acceptance of a Plan by a class of Interests

as acceptance by holders of two-thirds in amount of the allowed Interests of such class held by

holders of such Interests.

                                CONFIRMATION OF THE PLAN

               50.      Section 1128(a) of the Bankruptcy Code requires that the Bankruptcy

Court, after notice, hold a hearing on confirmation of the Plan (the "Confirmation Hearing").

Section 1128(b) provides that any party in interest may object to confirmation of the Plan.

               51.      By order of the Bankruptcy Court dated ___________________, 2025, the

Confirmation Hearing has been scheduled for _____________________                 , 2025, at    .m.,

in the Honorable Jill Mazer-Marino’s Courtroom, 271 Cadman Plaza East, Brooklyn, New York,


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11201. The Confirmation Hearing may be adjourned from time to time by the Bankruptcy Court

without further notice except for an announcement made at the Confirmation Hearing or any

adjourned Confirmation Hearing. Any objection to confirmation of the Plan must be made in

writing and filed with the Bankruptcy Court with proof of service and served upon the following

by __________________, 2025: Backenroth Frankel & Krinsky, LLP, 488 Madison Avenue,

New York, New York 10022, Attn: Mark A. Frankel, Esq. Objections to confirmation of the

Plan are governed by Bankruptcy Rule 9014.

                52.      At the Confirmation Hearing, the Bankruptcy Court will determine

whether the requirements of Section 1129 of the Bankruptcy Code have been satisfied to enter an

order confirming the Plan. The applicable requirements are: (a) The Plan complies with the

applicable provisions of the Bankruptcy Code, (b) the Debtor has complied with the applicable

provisions of the Bankruptcy Code; (c) the Plan has been proposed in good faith and not by any

means forbidden by law, (d) any payment made or promised or by a person issuing securities or

acquiring property under the Plan, for services or for costs and expenses in, or in connection with,

the Bankruptcy Case, or in connection with the Plan and incident to the Bankruptcy Case, has

been disclosed to the Bankruptcy Court, and any such payment made before the confirmation of

the Plan is reasonable, or if such payment is to be fixed after confirmation of the Plan, such

payment is subject to the approval of the Bankruptcy Court as reasonable, (e) the Debtor has

disclosed the identity and affiliations of any individual proposed to serve, after confirmation of

the Plan, as a director, officer, or voting trustee of the Debtor, an affiliate of the Debtor

participating in a Plan with the Debtor, or a successor to the Debtor under the Plan, and the

appointment to, or continuance in, such office of such individual, is consistent with the interests

of Creditors and equity security holders and with public policy, and the Debtor has disclosed the
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identity of any insider that will be employed or retained by the reorganized Debtor, and the nature

of any compensation for such insider, (f) with respect to each class of impaired Claims, either

each holder of a Claim or interest of such class has accepted the Plan, or will receive or retain

under the Plan on account of such Claim or interest property of a value, as of the Effective Date of

the Plan, an amount that is not less than the amount that such holder would so receive or retain if

the Debtor was liquidated on such date under Chapter 7 of the Bankruptcy Code, (g) each class of

Claims or Interests has either accepted the Plan or is not impaired under the Plan, (h) except if the

holder of a particular Claim has agreed to a different treatment of such Claim, the Plan provides

that Administrative Expenses and priority Claims will be paid in full on the Effective Date, (i) at

least one class of impaired Claims has accepted the Plan, determined without including any

acceptance of the Plan by any insider holding a Claim of such class, and (j) confirmation of the

Plan is not likely to be followed by the liquidation, or the need for further financial reorganization

of the Debtor or any successors to the Debtor under the Plan unless such liquidation or

reorganization is proposed in the Plan.

               53.      The Debtor believes that the Plan satisfies all of the statutory requirements

of Chapter 11 of the Bankruptcy Code, that the Debtor has complied or will have complied with

all of the requirements of Chapter 11, and that the proposals contained in the Plan are made in

good faith.

                                           CRAMDOWN

               54.      In the event that any impaired class of Claims does not accept the Plan, the

Bankruptcy Court may still confirm the Plan at the request of the Debtor if, as to each impaired




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class which has not accepted the Plan, the Plan "does not discriminate unfairly" and is "fair and

equitable.”

               55.      The Debtor intends to invoke the cramdown provisions of section 1129(b)

as to any impaired class that does not accept the Plan.

               56.      A plan of reorganization does not discriminate unfairly within the meaning

of the Bankruptcy Code if no class receives less than it is legally entitled to receive for its Claims

or equity Interests. "Fair and equitable" has different meanings for Secured and Unsecured

Claims.

               57.      With respect to a Secured Claim, "fair and equitable" means either: (a) the

impaired Secured Creditor retains its Liens to the extent of its Allowed Claim and receives

deferred cash payments at least equal to the allowed amount of its Claim with a present value as

of the Effective Date at least equal to the value of such Creditor's interest in the property securing

its Liens; (b) property subject to the Lien of the impaired Secured Creditor is sold free and clear

of that Lien, with that Lien attaching to the proceeds of the sale; or (c) the impaired Secured

Creditor realizes the "indubitable equivalent" of its Claim under the Plan.

               58.      With respect to an Unsecured Claim, "fair and equitable" means either: (a)

each impaired Unsecured Creditor receives or retains property of a value equal to the amount of

its Allowed Claim; or (b) the holders of Claims and Interests that are junior to the Claims of the

dissenting class will not receive any property under the Plan.

               59.      In the event one or more classes of impaired Claims rejects the Plan, the

Bankruptcy Court will determine at the Confirmation Hearing whether the Plan is fair and

equitable and does not discriminate unfairly against any rejecting impaired class of Claims.

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                                     CONCLUSION

            The Debtor urges the Debtor's Creditors to support the Plan.

Dated: New York, New York
       April 4, 2025

                                         Avon Place, LLC
                                         Debtor and Debtor in Possession

                                         By:     s/ David Goldwasser, CRO


                                         BACKENROTH FRANKEL & KRINSKY, LLP
                                         Attorneys for Debtor


                                         By:     s/Mark Frankel
                                                 488 Madison Avenue
                                                 New York, New York 10022
                                                 (212) 593-110




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                             Exhibit A
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Mark Frankel
Backenroth Frankel & Krinsky, LLP
488 Madison Avenue, Floor 11
New York, New York 10022
(212) 593-1100

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------x
In re                                                           Chapter 11

        Avon Place, LLC                     Case no. 25-41368 (JMM)

                                    Debtor.
--------------------------------------------------------x




                                     PLAN OF REORGANIZATION




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                                         INTRODUCTION

                 Avon Place, LLC (“Debtor”), proposes this Plan of Reorganization to its

 Creditors. UPON CONFIRMATION, THIS PLAN SHALL BE A BINDING OBLIGATION

 BETWEEN AND AMONG THE DEBTOR AND EACH OF THE DEBTOR'S CREDITORS

 (AS SUCH TERMS ARE DEFINED BELOW).

                                           DEFINITIONS

                60.      As used in this Plan, the following terms will have the meanings

hereinafter set forth:

                 "Administrative Expense" Any cost or expense of administration of the

 Bankruptcy Case entitled to priority under section 507(a)(1) and allowed under section 503(b) of

 the Bankruptcy Code, and any fees or charges assessed against the Debtor’s Estate under Chapter

 123, Title 28, United States Code.

                 “Administrative Expense Claim" shall mean a Claim for payment of an

 Administrative Expense.

                 "Allowance Date" shall mean the date which a Disputed Claim becomes an

 Allowed Claim by Final Order.

                 “Allowed Amount” shall mean the amount of a Claim: (a) to the extent that a

 Proof of Claim is filed timely or, with leave of the Court late filed as to which (i) no party in

 interest files an objection or (ii) which is allowed by a Final Order; or (b) which is listed on the

 Debtor’s schedules or any amendments thereto but which is not listed therein as disputed,

 unliquidated or contingent.


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                "Allowed Claim" shall mean a Claim: (a) to the extent that a Proof of Claim is

filed timely or, with leave of the Court late filed as to which (i) no party in interest files an

objection or (ii) which is allowed by a Final Order; or (b) which is listed on the Debtor’s

schedules or any amendments thereto but which is not listed therein as disputed, unliquidated or

contingent.

                "Allowed Secured Claim" shall mean a Secured Claim to the extent it is an

Allowed Claim.

                "Allowed Unsecured Claim" shall mean an Unsecured Claim to the extent it is an

Allowed Claim.

                "Bankruptcy Case" shall mean this Chapter 11 bankruptcy case.

                "Bankruptcy Code" shall mean Title 11 of the United States Code (11. U.S.C. §

101 et. seq.

                "Bankruptcy Court" shall mean the Court as defined below.

                "Bar Date” shall mean ______________, 2025.

                "Cash" shall mean all cash and cash equivalents which evidence immediately

available funds in United States dollars.

                "Claim" shall have the meaning set forth in § 101(5) of the Bankruptcy Code.

                "Claimant" shall mean the holder of a Claim.

                "Confirmation Date" shall mean the date of the entry of the Confirmation Order.




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                  "Confirmation Hearing" shall mean the hearing pursuant to the Bankruptcy Code

Section 1128 before the Bankruptcy Court regarding the proposed confirmation of the Plan.

                  "Confirmation Order" shall mean the order of the Court confirming the Plan.

                  "Court" shall mean the United States Bankruptcy Court for the Southern District

of New York.

                  "Creditor" shall mean any entity that holds a Claim against the Debtor.

                  "Debtor" shall mean Avon Place, LLC.

                  “Disclosure Statement” shall mean the disclosure statement filed in connection

with the Plan.

                  "Disputed Claim" shall mean the whole or any portion of any Claim against the

Debtor to which an objection is timely filed as to which a Final Order has not been entered

allowing or disallowing such Claim or any portion thereof.

                  “Disputed Claim Reserve” shall mean Cash to be set aside by the Debtor on the

Effective Date in an amount equal to the amount that would have been distributed to the holders

of Disputed Claims had such Claims been deemed Allowed Claims on the Effective Date, or in

such other amount as may be approved by the Bankruptcy Court.

                  "Effective Date" shall mean the Date upon which the Confirmation Order is

entered, or such other date no later than 60 days after the Confirmation Order is entered as may

be practicable.

                  "Estate" shall mean the estate of the Debtor created upon the commencement of

the Bankruptcy Case pursuant to Section 541 of the Bankruptcy Code.

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               "Executory Contracts" shall mean "executory contracts" and "unexpired leases" as

such terms are used within Section 365 of the Bankruptcy Code.

               "Final Order" shall mean an order of a court that has not been reversed, modified,

amended or stayed, and as to which the time to appeal or to seek review or certiorari thereof has

expired, and as to which no appeal, review or rehearing is pending.

               “Impaired” shall mean not Unimpaired.

               "Interest" shall mean an existing ownership interest in the Debtor.

               "Interest Holder" shall mean a holder and owner of an existing Interest in the

Debtor.

               "Legal Rate" shall mean the applicable interest rate as set forth in 28 U.S.C.

§1961 as of the Petition Date.

               "Lien" shall mean a valid and enforceable charge against or interest in property to

secure payment of a debt or performance of an obligation.

               "Mortgagee” shall mean 44 Avon Road Credit LLC.

               "Petition Date" shall mean March 21, 2025.

               "Plan" shall mean this Plan of Reorganization, and any and all modifications

and/or amendments hereto.

               " Property" shall mean one hundred and eighty (180) condominium units owned

by the Debtor at the property known as Avon Place Condominiums and located at 44-46-47-48

Avonwood Road, Avon, CT 06001.



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                "Secured Claim" shall mean a Claim secured by a Lien on property included

within the Debtor’s Estate, or that is subject to setoff under Section 553 of the Bankruptcy Code,

to the extent provided in Section 506 of the Bankruptcy Code.

                "Secured Creditor" shall mean the owner or holder of a Secured Claim.

                “Unimpaired” shall mean not impaired under section 1124 of the Bankruptcy

Code.

                "Unsecured Claim" shall mean a Claim that is not a Secured Claim. An

Unsecured Claim includes, but is not limited to, a Claim for damages resulting from rejection of

any Executory Contract pursuant to Section 365 of the Bankruptcy Code, and does not include

Administrative Expense Claims.

                "Unsecured Creditor" shall mean the owner or holder of an Unsecured Claim.

                       CLAIMS CLASSIFICATION AND TREATMENT

                                                Class 1

               61.      Classification – Avon Connecticut real estate tax, water, sewer and other

liens. . Class 1 Claims total approximately $584,403.

               62.      Treatment -- Payment in full in Cash of Allowed Amount on the

Effective Date, plus interest at the applicable statutory rate as it accrues from the Petition Date

through the date of payment.

               63.      Voting – Unimpaired and deemed to have accepted the Plan.




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                                               Class 2

               64.      Classification – Allowed Secured Claims of the Mortgagee. The Debtor

estimates that principal, non-default contract rate of interest, amortization, advances and other

charges total approximately $28,100,785 as of the Petition Date.

               65.      Treatment – On the Effective Date, pursuant to section 1124(2) of the

Bankruptcy Code, the Debtor shall cure pre-Petition Date and post-Petition Date monetary

defaults, if any, and then comply with its obligations under the applicable loan documents through

maturity. The Debtor intends to refinance or sell the Property and prepay all amounts on the

Effective Date..

               66.      Voting – Unimpaired and deemed to have accepted the Plan.

                                               Class 3

               67.      Classification – Allowed Secured Claim of Altbanq Lending LLC. The

Debtor estimates that $3,000,000 is due as of the Petition Date secured by a mortgage on the

Property.

               68.      Treatment – On the Effective Date, pursuant to section 1124(2) of the

Bankruptcy Code, the Debtor shall cure pre-Petition Date and post-Petition Date monetary

defaults, if any, and then comply with its obligations under the applicable loan documents through

maturity. The Debtor intends to refinance or sell the Property and prepay all amounts on the

Effective Date.. The Debtor intends to refinance and prepay all amounts on the Effective Date.

               69.      Voting – Unimpaired and deemed to have accepted the Plan.




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                                               Class 4

               70.      Classification – Priority Claims under Sections

507(a)(2),(3),(4),(5),(6),(7) and (8) of the Bankruptcy Code. Claims total approximately $0.

               71.      Treatment – Payment in full in Cash of Allowed Amount on the Effective

Date, plus interest at the applicable statutory rate as it accrues from the Petition Date through the

date of payment.

               72.      Voting -- Unimpaired and deemed to have accepted the Plan.

                                               Class 5

               73.      Classification – General Unsecured Claims. Claims total approximately

$1,287,148.

               74.      Treatment – Payment in full in Cash plus interest through the payment

date on the Effective Date.

               75.      Voting – Unimpaired and deemed to have accepted the Plan.

                                               Class 6

               76.      Classification – Allowed Equity Interests .

               77.      Treatment – Interest Holders shall be required to contribute the funds

necessary to make Effective Date payments under the Plan and shall retain their Interests under

the Plan.

               78.      Voting – Impaired and entitled to vote to accept or reject the Plan.




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                          UNCLASSIFIED PRIORITY TAX CLAIMS

               79.      Priority tax Claims under Section 507(a)(8) of the Bankruptcy Code by

Debtor, if any, shall be entitled to payment in Cash on the Effective Date of Allowed Amount,

plus interest at the applicable statutory rate as it accrues from the Petition Date through the date of

payment.

                                 ADMINISTRATIVE EXPENSES

               80.      Allowed Administrative Expense Claims, including professional fees,

shall be paid in full in Cash on the later of the Effective Date and the date such Administrative

Expense Claim becomes Allowed or as soon as practicable thereafter, except to the extent that the

holder of an Allowed Administrative Expense Claim agrees to a different treatment; provided,

however, that Allowed Administrative Expense Claims representing obligations incurred in the

ordinary course of business or under Executory Contracts assumed by the Debtor shall be paid in

full or performed by the Debtor in the ordinary course of business or pursuant to the terms and

conditions of the particular transaction. The Debtor estimates that through the entry of a final

decree in this case, Allowed Administrative Expenses will total approximately 315,000.

               81.      Any outstanding U.S. Trustee fees and any statutory interest thereon shall

be paid in full in Cash on the Effective Date. Thereafter, United States Trustee fees and any

statutory interest thereon shall be paid until entry of final decree or until Bankruptcy Case is

converted or dismissed. The Debtors shall file quarterly post-Confirmation operating reports.




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                               MEANS FOR IMPLEMENTATION

               82.      Source of Funds – Plan payments will be paid by the Interest Holders,

cash on hand, and additional funds from a refinancing or sale of the Property.

               83.      Vesting -- Except as otherwise provided in the Plan, on the Effective Date

all assets and properties of the Estate shall vest in the Debtor free and clear of all Liens, Claims

and encumbrances and any and all liens, claims and encumbrances that have not been expressly

preserved under the Plan shall be deemed extinguished as of such date. Except as otherwise

provided herein, as of the Effective Date, all property of the Debtor shall be free and clear of all

Claims and Interests of Creditors, except for the obligations that are imposed under the Plan or by

a Final Order of the Bankruptcy Court.

               84.      Execution of Documents -- The Proponent shall be authorized to execute,

in the name of any necessary party, any notice of satisfaction, release or discharge of any Lien,

Claim or encumbrance not expressly preserved in the Plan and deliver such notices to any and all

federal, state and local governmental agencies or departments for filing and recordation.

               85.      Recording Documents -- Each and every federal, state and local

governmental agency or department shall be authorized to accept and record any and all

documents and instruments necessary, useful or appropriate to effectuate, implement and

consummate the transaction contemplated by the Plan, including, but not limited to any and all

notices of satisfaction, release or discharge of any Lien, Claim or encumbrance not expressly

preserved by the Plan, and the Confirmation Order.

               86.      Preservation of Claims -- All rights pursuant to sections 502, 544, 545

and 546 of the Bankruptcy Code, all preference claims pursuant to section 547 of the Bankruptcy

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Code, all fraudulent transfer claims pursuant to sections 544 and 548 of the Bankruptcy Code, and

all claims relating to post-Petition Date transactions under section 549 of the Bankruptcy Code

shall be preserved for the benefit of the Debtor’s estate, provided, however, that the Debtor shall

have sole authority for prosecuting any such claims. Because all creditors are being paid in full

under the Plan, the Debtor does not anticipate preference or fraudulent claims.

               87.      Stamp Tax -- Under the Plan, pursuant to Bankruptcy Code by section

1146(c), the issuance, transfer, or exchange of any security and the making or delivery of any

instrument of transfer under this Plan, (including any instrument of transfer executed in

furtherance of the sale contemplated by the Plan), shall not be subject to tax under any law

imposing a stamp tax or similar tax.

                 PAYMENT OF CLAIMS AND OBJECTIONS TO CLAIMS

               88.      The Debtor shall be disbursing agent under the Plan without a bond. The

Debtor reserves the right to file objections to claims in the event grounds exist to object to

particular claims, for a period of 60 days after the Effective Date. On the initial distribution date

and on each distribution date as may thereafter be necessary, the Debtor shall maintain an

undetermined claims distribution reserve for the holders of undetermined claims as of such date in

a sum not less than the amount required to pay each such undetermined claim if such claim was

allowed in full. To the extent that an undetermined claim becomes an Allowed Claim, the

distributions reserved for such Allowed Claim, shall be released from the undetermined claims

distribution reserve and paid to the holder of such Allowed Claim. After all the amounts of all

undetermined claims have been fixed, the balance of the undetermined claims distribution reserve

shall thereafter be paid in accordance with the Plan.


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                  EXECUTORY CONTRACTS AND UNEXPIRED LEASES

               89.      Except for executory contracts and unexpired leases the Debtor rejects

before the Confirmation Date, all unexpired leases and executory contracts shall be assumed

under the Plan. In the event of a rejection which results in damages a proof of claim for such

damages must be filed by the damaged party with the Court within sixty (60) days after the

rejection date. All Allowed Claims arising from the rejection of any Executory Contract or

unexpired lease shall be treated as Unsecured Claims. Any Claim arising from the rejection of

any Executory Contract or unexpired lease not filed with the Court within the time period

provided herein shall be deemed discharged and shall not be entitled to participate in any

distribution under the Plan.

                          UNCLASSIFIED PRIORITY TAX CLAIMS

               90.      Priority tax Claims under Section 507(a)(8) of the Bankruptcy Code by

Debtor, if any, shall be entitled to payment in Cash on the Effective Date of Allowed Amount,

plus interest at the applicable statutory rate as it accrues from the Petition Date through the date of

payment.

                                 ADMINISTRATIVE EXPENSES

               91.      Allowed Administrative Expense Claims, including professional fees,

shall be paid in full in Cash on the later of the Effective Date and the date such Administrative

Expense Claim becomes Allowed or as soon as practicable thereafter, except to the extent that the

holder of an Allowed Administrative Expense Claim agrees to a different treatment; provided,

however, that Allowed Administrative Expense Claims representing obligations incurred in the

ordinary course of business or under Executory Contracts assumed by the Debtor shall be paid in

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full or performed by the Debtor in the ordinary course of business or pursuant to the terms and

conditions of the particular transaction. The Debtor estimates that through the entry of a final

decree in this case, Allowed Administrative Expenses will total approximately $315,000.

               92.      Any outstanding U.S. Trustee fees and any statutory interest thereon shall

be paid in full in Cash on the Effective Date. Thereafter, United States Trustee fees and any

statutory interest thereon shall be paid until entry of final decree or until Bankruptcy Case is

converted or dismissed. The Debtors shall file quarterly post-Confirmation operating reports.

                               MEANS FOR IMPLEMENTATION

               93.      Source of Funds – Plan payments will be paid by the Interest Holders,

cash on hand, and to the extent necessary, additional funds from a refinancing or sale of the

Property. Based on expressions of interest from potential lenders and purchasers, the Debtor

believes that it will be in a position to pre-pay all secured claims as well as pay all priority and

general unsecured claims on the Effective Date.

               94.      Vesting -- Except as otherwise provided in the Plan, on the Effective Date

all assets and properties of the Estate shall vest in the Debtor free and clear of all Liens, Claims

and encumbrances and any and all liens, claims and encumbrances that have not been expressly

preserved under the Plan shall be deemed extinguished as of such date. Except as otherwise

provided herein, as of the Effective Date, all property of the Debtor shall be free and clear of all

Claims and Interests of Creditors, except for the obligations that are imposed under the Plan or by

a Final Order of the Bankruptcy Court.

               95.      Execution of Documents -- The Proponent shall be authorized to execute,

in the name of any necessary party, any notice of satisfaction, release or discharge of any Lien,

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Claim or encumbrance not expressly preserved in the Plan and deliver such notices to any and all

federal, state and local governmental agencies or departments for filing and recordation.

               96.     Recording Documents -- Each and every federal, state and local

governmental agency or department shall be authorized to accept and record any and all

documents and instruments necessary, useful or appropriate to effectuate, implement and

consummate the transaction contemplated by the Plan, including, but not limited to any and all

notices of satisfaction, release or discharge of any Lien, Claim or encumbrance not expressly

preserved by the Plan, and the Confirmation Order.

               97.     Preservation of Claims -- All rights pursuant to sections 502, 544, 545

               98.     and 546 of the Bankruptcy Code, all preference claims pursuant to section

547 of the Bankruptcy Code, all fraudulent transfer claims pursuant to sections 544 and 548 of the

Bankruptcy Code, and all claims relating to post-Petition Date transactions under section 549 of

the Bankruptcy Code shall be preserved for the benefit of the Debtor’s estate, provided, however,

that the Debtor shall have sole authority for prosecuting any such claims. Because all creditors are

being paid in full under the Plan, the Debtor does not anticipate preference or fraudulent claims.

               99.     Stamp Tax -- Under the Plan, pursuant to Bankruptcy Code by section

1146(c), the issuance, transfer, or exchange of any security and the making or delivery of any

instrument of transfer under this Plan, (including any instrument of transfer executed in

furtherance of the sale contemplated by the Plan), shall not be subject to tax under any law

imposing a stamp tax or similar tax.




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                 PAYMENT OF CLAIMS AND OBJECTIONS TO CLAIMS

               100.     The Debtor shall be disbursing agent under the Plan without a bond. The

Debtor reserves the right to file objections to claims in the event grounds exist to object to

particular claims, for a period of 60 days after the Effective Date. On the initial distribution date

and on each distribution date as may thereafter be necessary, the Debtor shall maintain an

undetermined claims distribution reserve for the holders of undetermined claims as of such date in

a sum not less than the amount required to pay each such undetermined claim if such claim was

allowed in full. To the extent that an undetermined claim becomes an Allowed Claim, the

distributions reserved for such Allowed Claim, shall be released from the undetermined claims

distribution reserve and paid to the holder of such Allowed Claim. After all the amounts of all

undetermined claims have been fixed, the balance of the undetermined claims distribution reserve

shall thereafter be paid in accordance with the Plan.

                  EXECUTORY CONTRACTS AND UNEXPIRED LEASES

               101.     Except for executory contracts and unexpired leases the Debtor rejects

before the Confirmation Date, all unexpired leases and executory contracts shall be assumed

under the Plan. In the event of a rejection which results in damages a proof of claim for such

damages must be filed by the damaged party with the Court within sixty (60) days after the

rejection date. All Allowed Claims arising from the rejection of any Executory Contract or

unexpired lease shall be treated as Unsecured Claims. Any Claim arising from the rejection of

any Executory Contract or unexpired lease not filed with the Court within the time period

provided herein shall be deemed discharged and shall not be entitled to participate in any

distribution under the Plan.


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                               RETENTION OF JURISDICTION

                102.    Retention of Jurisdiction. The Court shall have jurisdiction over all

matters arising under, arising in, or relating to each Debtor’s Bankruptcy Case to the fullest extent

permitted including, but not limited to, with respect to section 1142 of the Bankruptcy Code and

proceedings:

            x   To consider any modification of the Plan under Section 1127 of the
                Bankruptcy Code;

            x   To hear and determine all Claims, controversies, suits and disputes against
                the Debtor to the full extent permitted under 28 U.S.C. §§157 and 1334;

            x   To hear, determine and enforce all Claims and causes of action which
                may exist on behalf of the Debtor or the Debtor’s estate, including, but not
                limited to, any right of the Debtor or the Debtor’s Estate to recover assets
                pursuant to the provisions of the Bankruptcy Code;

            x   To hear and determine all requests for compensation and/or
                reimbursement of expenses which may be made;

            x   To value assets of the Estate.

            x   To enforce the Confirmation Order, the final decree, and all injunctions
                therein;

            x   To enter an order concluding and terminating the Bankruptcy Case;

            x   To correct any defect, cure any omission, or reconcile any inconsistency in
                the Plan, or the Confirmation Order;

            x   To determine all questions and disputes regarding title to the assets of the
                Debtor.

            x   To re-examine Claims which may have been Allowed or disallowed for
                purposes of voting, and to determine objections which may be filed to any
                Claims.


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                                     GENERAL PROVISIONS

               103.     Headings. The headings in the Plan are for convenience of reference only

and shall not limit or otherwise affect the meaning of the Plan.

               104.     Disputed Claims. The Debtor shall hold in escrow the distribution that

would be due on account of any Disputed Claim. No Disputed Claims shall be paid until such

Claim becomes an Allowed Claim.

               105.     Calculation of Time Periods. Bankruptcy Rule 9006 is incorporated

herein for purposes of calculating the dates set forth herein.

               106.     Other Actions. Nothing contained herein shall prevent the Debtor,

Interest Holders, or Creditors from taking such actions as may be necessary to consummate the

Plan, although such actions may not specifically be provided for within the Plan.

               107.     Modification of Plan. The Debtor may seek amendments or

modifications to the Plan in accordance with Section 1127 of the Bankruptcy Code at any time

prior to the Confirmation Date. After the Confirmation Date, the Debtor may seek to remedy any

defect or omission or reconcile any inconsistencies in the Plan or in the Confirmation Order, in

such manner as may be necessary to carry out the purposes and intent of the Plan

                                           INJUNCTION

               108.     Injunction. The Confirmation of this Plan shall constitute an injunction

of the Court against the commencement or continuation of any action, the employment of process,

or any act, to collect, recover or offset from the Debtor or its property or properties, any

obligation or debt except pursuant to the terms of the Plan.


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                          CLOSING THE BANKRUPTCY CASE

              Upon substantial consummation, the Debtor may move for a final decree to close

the Bankruptcy Case and to request such other orders as may be just.

Dated: New York, New York
       April 4, 2025

                                            Avon Place, LLC

                                     By:    s/ David Goldwasser, CRO


                                            BACKENROTH FRANKEL & KRINSKY, LLP
                                            Attorneys for Debtor


                                     By:    s/Mark A. Frankel
                                            488 Madison Avenue
                                            New York, New York 10022
                                            (212) 593-1100




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                           EXHIBIT B TO DISCLOSURE STATEMENT
                                      ASSETS AND LIABILITIES


                                                 Assets
 Property Value                                      $40,000,000



                                                Liabilities
 Administrative Claims                                315,000
 Real Estate Tax Lien                                 $584,403
 First Mortgages                                      $28,100,785
 Second Mortgage                                      $3,000,000
  Priority Claims under Sections                      0
 507(a)(2),(3),(4),(5),(6),(7) and (8) of the
 Bankruptcy Code.
 General Unsecured Claims                            $1,287,148

 Interest Holders                                    $6,712,664

 Total                                               $40,000,000


                                     CHAPTER 7 DISTRIBUTION

                                                 Assets
 Property Value                                      $40,000,000



                                                Liabilities
 Administrative Claims                                $4,315,000
 Real Estate Tax Lien                                 $584,403
 First Mortgages                                      $28,100,785
 Second Mortgage                                      $3,000,000
  Priority Claims under Sections                      0
 507(a)(2),(3),(4),(5),(6),(7) and (8) of the
 Bankruptcy Code.
 General Unsecured Claims                            $1,287,148

 Interest Holders                                    $2,712,664
 Total                                               $40,000,000


Note: All claim amounts subject to objection.
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Sources & Uses
                                  Sources
                                                                 Amount

  Debtor Funding                                           $6,849,010.07

                                   Uses

                                                               Amount
  Reinstatement Amount - Note                               $1,771,034.46
  Reinstatement Amount - LOC                                $110,369.79
  Altbanq Lending LLC Payoff                                $3,180,000.00
  Insurance Claim Proceeds                                  ($474,744.98)
  Outstanding RE Taxes                                      $584,403.03
  Outstanding CT Water                                       $90,579.25
  Outstanding CT Sewer                                       $70,683.75
  Unsecured Creditors                                       $1,125,884.84
  Debtor Legal (Estim.)                                      $50,000.00
  Debtor Professionals (Estim.)               1.00%         $271,007.85
  Title Fees (Estim.)                                        $15,000.00
  UST Fees                                    0.80%          $54,792.08
 Total Uses                                                 $6,849,010.07
